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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 LETITIA M. BOWENS,

 Plaintiff,
                                                           Case No.: 1:18-cv-07816
 v.
                                               Honorable Judge Harry D. Leinenweber
 ACCOUNT RECOVERY SOLUTIONS, LLC,

 Defendant.

                              ATTORNEY FEES AND COSTS

Attorney Fees:
 Date        Description                     Attorney/Staff      Rate         Time     Amount
 11/08/2018 Review of documents to verify    Alexander J. Taylor $425.00      0.5      $212.50
             potential causes of action
 11/08/2018 Researched proper defendant      Alexander J. Taylor $425.00      0.3      $127.50
 12/06/2018 Verified facts to determine if   Alexander J. Taylor $425.00      1.0      $425.00
             all elements of FDCPA and
             TDCA are present
 12/06/2018 Draft/Revised Complaint          Alexander J. Taylor $425.00      2.5      $1062.50
 11/27/2018 Filed Complaint, Issued          Laura Dixon         $125.00      0.75     $93.75
             Summons and sent to process
             server
 02/20/2018 Filed Executed Summons           Laura Dixon         $125.00      0.2      $25.00
 03/17/2018 Draft Motion for Entry of        Alexander J. Taylor $425.00      0.5      $212.50
             Default Judgment
 03/18/2018 Filed Motion for Entry of        Laura Dixon           $125.00    0.5      $75.00
             Default Judgment and sent to
             Defendant
 05/22/2019 Drafted Motion for Default       Alexander J. Taylor $425.00      1.5      $637.50
             Judgment
                                                                                     $2871.25
Costs:
 Filing Fee                        $400.00
 Service (R.O.S. Consulting, Inc.) $165.00
 Total Costs                       $565.00

Grand Total
 Attorney Fees    $2,871.25
 Costs              $565.00
 Total            $3,436.25
